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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:01CR3105
                                                  )
ARRMON DAUGHERTY,                                 )
                                                  )
                            Defendant.            )

                                          ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue Revocation Hearing, filing 464, now set for December 16, 2009, at 12:00 noon

until January 14, 2010. The Court, being fully advised in the premises, finds that said motion

should be granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 14th day of January, 2010, at 12:00 noon. The defendant is

ordered to appear at such time.

       Dated December 7, 2009.



                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
